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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

DONALD COOPER,                          :
    Plaintiff                           :
                                        :
      v.                                :       Civil No. AMD 09-346
                                        :
UNITED AUTO CREDIT CORP.,               :
     Defendant                          :
                                    ...o0o...

                                    ORDER

      In accordance with the foregoing Memorandum, it is this 14th day of April, 2009,

by the United States District Court for the District of Maryland, ORDERED

      (1)    The motion to amend the notice of removal (Paper No. 11) is DENIED; and

it is further ORDERED

      (2)    Defendant’s REMOVAL OF THIS CASE WAS IMPROVIDENT AS THE

COURT PLAINLY LACKS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C. §

1332(a)(3); and it is further ORDERED

      (3)    This case is FORTHWITH REMANDED TO THE CIRCUIT COURT

FOR BALTIMORE COUNTY; and it is further ORDERED

      (4)    That the Clerk shall CLOSE THIS CASE.



                                        /s/
                                        ANDRE M. DAVIS
                                        United States District Judge
